Case 2:11-cv-00584-DDP-PJW Document 116 Filed 07/23/12 Page 1 of 1 Page ID #:2833

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL

 Case No.             CV 11-00584 DDP (PJWx)                          Date      July 23, 2012
 Title     JOHN BRANCA AND JOHN McCLAIN, Executors of the Estate of Michael J.
           Jackson; MICHAEL JACKSON COMPANY, LLC, a California Limited Liability
           Company; MJJ PRODUCTIONS, INC., a California corporation; OPTIMUM
           PRODUCTIONS, a California corporation -V- HOWARD MANN, an individual; SONIA
           LOWE, an individual; DC NETCAST MEDIA GROUP, INC., an unknown corporation;
           VINTAGE POP MEDIA GROUP, LLC, a California limited liability company; VINTAGE
           POP INC., an unknown corporation; VINTAGE POP MEDIA, LLC, an unknown limited
           liability company

 Present: The                  DEAN D. PREGERSON, U.S. DISTRICT JUDGE
 Honorable
          John A. Chambers                          Maria Bustillos                         N/A
                Deputy Clerk                   Court Reporter / Recorder                 Tape No.
           Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                    Zia F. Modabber                                      Lee H. Durst
                   Tami Kameda Sims                                Janet Conway - telephonic
                  Jeremiah T. Reynolds                                 Steven R. Bartell
 Proceedings:
                   MOTION FOR (A) PARTIAL SUMMARY JUDGMENT AS TO
                   DEFENDANTS' AFFIRMATIVE DEFENSES AND PLAINTIFFS'
                   COMPLAINT AND (B) SUMMARY JUDGMENT ON VINTAGE'S
                   COUNTER-CLAIM FILED BY PLAINTIFFS JOHN BRANCA, MJJ
                   PRODUCTIONS, INC., JOHN MCCLAIN, MICHAEL JACKSON
                   COMPANY, LLC, OPTIMUM PRODUCTIONS
                   (DOCKET NUMBER 86)



         Court hears oral argument and takes the matter under submission.




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                                                         Initials of Preparer            JAC
CV-90 (12/02)                            CIVIL MINUTES - GENERAL                                  Page 1 of 1
